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IN THE UNITED STATES DISTRICT COURT

FGR THE DISTRICT OF DELAWARE

Civu Acri@n NO. \H ~\3@5 LP$

et al

 

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